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 7                        UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
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11   David Wexler,                    )              LACV 21-06245-JVS (Ex)
                                      )
12                                    )              ORDER OF DISMISSAL UPON
                Plaintiff,            )
13                                    )              SETTLEMENT OF CASE
           v.                         )
14                                    )
     Fun Guy Inspection & Consulting, )
15   Inc.,                            )
                                      )
16              Defendant(s).         )
                                      )
17   ______________________________ )
18
19         The Court having been advised by the counsel for the parties that the above-
20   entitled action has been settled,
21         IT IS ORDERED that this action be and is hereby dismissed in its entirety
22   without prejudice to the right, upon good cause being shown within 60 days, to reopen
23   the action if settlement is not consummated.
24
25   DATED: November 30, 2021                            __________________________
                                                         James V. Selna
26                                                       U.S. District Judge
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